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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

UNITED STATES OF AMERICA,                 )
                                          )
vs.                                       )       DOCKET NO. 2:18-cr-122-JDL
                                          )
MAURICE DIGGINS                           )


   DEFENDANT’S EMERGENCY MOTION TO RESTORE MEDICATION
 DURING PRETRIAL DETENTION AND INCORPORATED MEMORANDUM

       NOW COMES Maurice Diggins, by counsel and asks the court to direct the Marshal
to provide Diggins with necessary medication during the period of pre-trial detention.
Specifically, Diggins asks that his medically assisted opiate addiction medication, suboxone,
be restored. In support of this motion, counsel states the following:


1.     Maurice Diggins is in custody awaiting trial. (ECF # 33). Before his arrest on the
pending charges, Diggins participated in a multi-year medically assisted opiate addiction
treatment which included daily ingestion of the prescription medication suboxone.1 Suboxone
contains a combination of buprenorphine and naloxone and is a federally regulated
medication. He is being housed at the Strafford County Jail in Dover, New Hampshire. Until


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        The most widely used form of buprenorphine is a combination of this drug with
the short-acting opiate antagonist naloxone, which has little effect when absorbed under
the tongue but neutralizes the effect of injected opiates. It's sold under the name
Suboxone.

Suboxone works by tightly binding to the same receptors in the brain as other opiates,
such as heroin, morphine, and oxycodone. By doing so, it blunts intoxication with these
other drugs, it prevents cravings, and it allows many people to transition back from a life
of addiction to a life of relative normalcy and safety.
https://www.health.harvard.edu/mind-and-mood/treating-opiate-addiction-part-i-detoxific
ation-and-maintenance


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recently Diggins was receiving suboxone from the medical department at the jail. The pill
is dissolved under the tongue of the recipient. On or about January 1, 2020 Diggins was
accused of “misusing” his medication. It was claimed he did not allow the pill to fully
dissolve. Yet an immediate search of Diggins did not locate any pill or partially dissolved
pill. Diggins denied (and denies) misusing the medication. Since this “incident” the jail has
stopped providing Diggins with suboxone and has not provided any alternative or
replacement medication.


2.     Counsel has been working with Dean Knightly, Supervisory Deputy U.S. Marshal to
try and have Diggins’ medication restored. Deputy Knightly has been very responsive and
been trying to coordinate with the medical facility at the Strafford Jail. Unfortunately, to date
we have not been successful in have Diggins’ medication restored.


3.     Suboxone is addictive and a federal scheduled medication. Stopping the medication
results in withdraw. Lacking the medication he was receiving, Diggins says he is undergoing
withdrawal.2 He says he is sick and unable to focus. He says he is not able to confer with
counsel about the case related facts and is unable to prepare for trial. He fears the trial date
will be upon him and he will not be ready for trial. He fears counsel will not have the benefit
of Diggins’ knowledge of the events at issue. He fears counsel will not have the benefit of
Diggins’ knowledge and assistance in trial preparation, particularly regarding witnesses and
the events at issue. Diggins’ is of the opinion that lacking his medication, both he and

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         Suboxone withdrawal can last for as long as a month, and symptoms can include:
Concentration difficulties, Nausea, Vomiting, Headaches, Muscle aches, Insomnia,
Lethargy, Digestive distress, Anxiety, Depression, Irritability, Drug cravings, Fever,
Chills, Sweating, Headache.
https://americanaddictioncenters.org/suboxone/withdrawal




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counsel will be “unprepared” for trial.


4.     Counsel has brought this issue to the attention of AUSA Sheila Sawyer. Counsel and
AUSA Sawyer are both available the afternoons of January 13 or 14 for a short hearing on
this matter. After the 14th, both counsel are out of town for some time. Pending is the motion
for specific assignment of the trial for jury selection March 2 and trial March 3. The case
involves multiple witnesses including out of state witnesses as well as a Codefendant, Dusty
Leo. It is important to all involved that Mr. Diggins’ medical condition be addressed and the
parties be able to continue trial preparation and know the trial date as subpoenas and travel
arraignments are made.


       Wherefore Defendant requests following a hearing this Motion be GRANTED,
and the court direct the Strafford County Jail via the Marshal to restore medically
assisted opiate addiction medication to Diggins.


DATE: January 10, 2020                            /s/ David Beneman
                                                  David Beneman
                                                  Attorney for Maurice Diggins

David Beneman
Federal Defender
P.O. Box 595
Portland, Me 0412-0595
207-553-7070 ext. 101
David_Beneman@fd.org




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                            CERTIFICATE OF SERVICE

       I, David Beneman, attorney for Maurice Diggins, hereby certify that I have served,
electronically, a copy of the within “DEFENDANT'S EMERGENCY MOTION TO
RESTORE MEDICATION DURING PRETRIAL DETENTION AND
INCORPORATED MEMORANDUM” upon Sheila Sawyer, Assistant United States
Attorney, United States Attorney's Office, Portland, ME, Amy Fairfield, Esq. and all other
counsel of record via the ECF system.

                                                       /s/ David Beneman
                                                       David Beneman
DATE: January 10, 2020




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